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Civil Minutes

Time Set:        12:00 p.m.
Start Time:      12:07 p.m.
End Time:        1:16 p.m.


The Coleman Company,Inc.                    Civil Case Number:               2:20cv351

(X)Plaintiff( )Government                   Date:                            Feb. 9,2022
vs.                                      Presiding Judge:                    Lawrence R. Leonard

                                            Court Reporter                   Jody Stewart, OCR
Team Worldwide Corporation                  Courtroom Deputy:                L. Woodcock

Defendant(s)

                         This matter came before the Court on the Motion for Sanctions(208)and Motion to
Proceedings:             Seals(211,219).
                         Warren Thomas and R. Braxton Hill IV appeared on behalf of Plaintiff. William
                         Poynter, James M. Woods and Alexandra Gabriel appeared on behalf of Defendant.
                         The Court addresses the Motions to Seal. Argument by Mr. Poynter and Mr. Thomas
                         heard. The Court GRANTS the Motions to Seal(211,219). The Court admonishes the
                         parties regarding sealing motions and the court's rules.
                         The Court hears argument on the Motion for Sanctions by Mr. Thomas and Mr. Poynter.
                         Comments and questions by the Court. Rebuttal by Mr. Thomas.
                         The Court finds that the Order was clear and TWW has violated this Court's order.
                         Coleman is awarded reasonable expenses and attorneys' fees for reasons stated on the
                         record.
                         Coleman is directed to file a motion within 14 days setting forth what they believe they
                         are entitled to. TWW is directed to produce invoices, as outlined on the record, by close
                         of business 2/11/22.
                         The Court to prepare a written Order.
                         The Court notes that filing an objection will not stay this Order.
                         Court in recess.
